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3                               UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA
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                                                 ***
6     MARLONESCHA BECKER, individually                 Case No. 3:19-cv-00602-LRH-WGC
      and on behalf of all others similarly
7     situated,
8                                       Plaintiffs,
9
               v.
10
      KAMY KESHMIRI; JAMY KESHMIRI;
11    FANTASY GIRLS, LLC; DOE
      MANAGERS 1-3; and DOES 3-100,
12
      inclusive,
13
                                     Defendants.
14

15    DAREN DORIO, QUIANNA HUNT, and                   Case No. 3:20-cv-00482-MMD-WGC
      KELSEY JOHANSEN,
16
                                                           REASSIGNMENT ORDER
17                                      Plaintiffs,

18             v.
19    KAMY KESHMIRI; JAMY KESHMIRI;
20    FANTASY GIRLS, LLC; DOE
      MANAGERS 1-3; and DOES 3-100,
21    inclusive,

22                                   Defendants.
23

24            Before the Court is Plaintiffs' Notice of Related Cases (ECF No. 51 in the 2019

25   case).

26            The presiding District Judges in these actions have determined that these actions

27   are related and that there is good cause to reassign them to one District Judge.

28   Reassignment of the two cases to one judge will promote judicial efficiency and will not
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1    result in prejudice to the parties. The practice in this district has been to assign related

2    cases to the assigned judge and magistrate judge in the first filed case.

3           Good cause appearing, it is therefore ordered that Case No. 3:20-cv-00482-MMD-

4    WGC is reassigned to District Judge Larry R. Hicks, and Magistrate Judge William G.

5    Cobb, and all future pleadings must bear case number 3:20-cv-00482-LRH-WGC.

6           The Clerk of the Court is directed change the file and docket to reflect this

7    reassignment.

8           DATED this 28th Day of August 2020.

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11                                             MIRANDA M. DU
                                               CHIEF UNITED STATES DISTRICT JUDGE
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14          DATED this 31st
                       ___ day of August, 2020.

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                                               LARRY R. HICKS
17                                             UNITED STATES DISTRICT JUDGE
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